                                 Fourth Court of Appeals
                                         San Antonio, Texas

                                    MEMORANDUM OPINION

                                             No. 04-24-00427-CV

                                    IN RE Christian Miguel ARROYO

                                             Original Proceeding 1

PER CURIAM

Sitting:          Rebeca C. Martinez, Chief Justice
                  Beth Watkins, Justice
                  Liza A. Rodriguez, Justice

Delivered and Filed: August 21, 2024

PETITION FOR WRIT OF MANDAMUS DENIED

           On June 28, 2024, relator filed a petition for writ of mandamus. After considering the

petition and attached record, this court concludes relator is not entitled to the relief sought.

Accordingly, the petition for writ of mandamus is denied. See TEX. R. APP. P. 52.8(a).

                                                          PER CURIAM




1
 This proceeding arises out of Cause No. 2021-CI-16383, styled In the Interest of L.I.A.-N., a Child, pending in the
57th Judicial District Court, Bexar County, Texas, the Honorable Antonia Arteaga presiding.
